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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   RARE BREED TRIGGERS, LLC, et al.,             )
                                                 )
                         Plaintiffs,             )
                                                 )
   v.                                            )     Case No. 22-CV-107-GKF-JFJ
                                                 )
   THOMAS ALLEN GRAVES, et al.,                  )
                                                 )
                         Defendants.             )

                                               ORDER

          On March 15, 2024, Plaintiffs Rare Breed Triggers, LLC, and ABC IP, LLC (“Plaintiffs”),

   filed a Motion to Set Asset Hearing. (Docket No. 77). After referral of the motion from United

   States District Judge Gregory K. Frizzell (Docket No. 78), the undersigned Magistrate Judge

   entered an order granting the motion and ordering Defendants Thomas Allen Graves and Powered

   by Graves, Inc. (“Defendants”) to appear before the undersigned for an asset hearing on April 17,

   2024. (Docket No. 79). Defendants failed to appear. The undersigned entered a further order on

   April 17, 2024, resetting the asset hearing for May 1, 2024, again directing Defendants to appear

   and bring the “documents and things” outlined in the prior order. (Docket No. 90). On April 30,

   2024, the asset hearing was continued until May 15, 2024. (Docket No. 96). Defendants again

   failed to appear for the asset hearing. (Docket No. 98). At the hearing, Plaintiffs’ counsel made

   an oral motion for contempt. (Docket No. 97). On May 21, 2024, the motion was referred to the

   undersigned by the district judge.

          IT IS THEREFORE ORDERED that Plaintiffs are directed to file a brief in support of

   the motion for contempt by Thursday, June 6, 2024. Defendant Graves shall respond to

   Plaintiffs’ brief in support by Friday, June 21, 2024. The parties shall appear before the
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   undersigned for a hearing on Plaintiffs’ motion for contempt on Monday, July 1, 2024, at 9:30

   a.m. at 333 W. 4th Street, Tulsa OK 74103, Fourth Floor, Courtroom # 5.

          Additionally, within seven (7) days of filing, Plaintiffs are directed to personally serve

   copies of this Order and the brief in support of the motion for contempt on Defendant Graves.

   Within three (3) days of service on Defendant Graves, Plaintiffs shall file certificates of service

   with the Court.

          IT IS SO ORDERED this 22nd day of May, 2024.




                                                MARK T. STEELE, MAGISTRATE JUDGE
                                                UNITED STATES DISTRICT COURT




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